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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

                                               )
 UNITED STATES OF AMERICA                      )     Criminal Case No. 20-cr-7-01/02-LM____
                                               )
          v.                                   )
                                               )
 HEIDI COMPOS and                              )
 JASON MARTIN                                  )


                                         INDICTMENT

       The Grand Jury charges:

                                         COUNT ONE
                             Distribution of Controlled Substance
                      18 U.S.C. § 2(a); 21 U.S.C. §§ 841(a)(1) & (b)(1)(C)

       On or about October 13, 2019, in the District of New Hampshire, the defendants,

                                        HEIDI COMPOS

                                                   and

                                    JASON “JAY” MARTIN,

aiding and abetting each other, knowingly and intentionally distributed controlled substances,

specifically, fentanyl and cocaine base, commonly known as crack cocaine, both of which are

Schedule II controlled substances, in violation of Title 18, United States Code, 2(a) and Title 21,

United States Code, Sections 841(a)(1) and (b)(1)(C).
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                                          COUNT TWO
                               Distribution of Controlled Substance
                               21 U.S.C. §§ 841(a)(1) & (b)(1)(C)

       On or about October 22, 2019, in the District of New Hampshire, the defendant,

                                        HEIDI COMPOS,

did knowingly and intentionally distribute controlled substances, specifically, fentanyl and

cocaine base, commonly known as crack cocaine, both of which are Schedule II controlled

substances, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).


                                         COUNT THREE
                               Distribution of Controlled Substance
                               21 U.S.C. §§ 841(a)(1) & (b)(1)(C)

       On or about November 18, 2019, in the District of New Hampshire, the defendant,

                                        HEIDI COMPOS,

did knowingly and intentionally distribute a controlled substance, specifically, fentanyl, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)

and (b)(1)(C).




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                                        COUNT FOUR
                        Conspiracy to Distribute a Controlled Substance
                     21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(vi), & (b)(1)(C)

       From an unknown date, but at least by on and about October 13, 2019, and continuing to

on and about November 21, 2019, in the District of New Hampshire and elsewhere, the

defendants,

                                         HEIDI COMPOS

                                                and

                                    JASON “JAY” MARTIN,

knowingly and intentionally combined, conspired, confederated and agreed together and with

each other, and with other persons known and unknown to the Grand Jury, to commit the

following offense against the United States: to possess with intent to distribute and to distribute

controlled substances, specifically, 40 grams and more of a mixture and substance containing a

detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, commonly

known as fentanyl, and cocaine base, commonly known as crack cocaine, both of which are

Schedule II controlled substances, in violation of Title 21, United States Code, Sections

841(a)(1), (b)(1)(B)(vi), and (b)(1)(C), and 846.

       Heidi Compos’s conduct as a member of the conspiracy charged above, which includes

the reasonably foreseeable conduct of other members of the narcotics conspiracy charged above,

involved 40 grams and more of a mixture and substance containing N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide a/k/a fentanyl, a Schedule II narcotic controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(vi), and

846.

       Jason “Jay” Martin’s conduct as a member of the conspiracy charged above, which



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includes the reasonably foreseeable conduct of other members of the narcotics conspiracy

charged above, involved 40 grams and more of a mixture and substance containing N-phenyl-N-

[1-(2-phenylethyl)-4-piperidinyl] propanamide a/k/a fentanyl, a Schedule II narcotic controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(vi), and

846.




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                          NOTICE OF CRIMINAL FORFEITURE
                         PURSUANT TO 21 U.S.C. § 853(a)(1) and (2)

       Counts One through Four of this Indictment are re-alleged as if fully set forth and

incorporated by reference for alleging forfeiture pursuant to 21 U.S.C. § 853(a)(1) and (2). Upon

conviction of the offenses alleged above in this Indictment, the defendants, HEIDI COMPOS

and JASON MARTIN, shall forfeit to the United States, any property constituting, or derived

from, or proceeds obtained, directly or indirectly, as a result of the charged offenses; and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of the charged offenses.


                                                      A TRUE BILL



Dated: January 22, 2020                               /s/ Grand Jury Foreperson
                                                      FOREPERSON

SCOTT W. MURRAY
UNITED STATES ATTORNEY


/s/ Charles L. Rombeau
By:     Charles L. Rombeau
        Assistant U.S. Attorney




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